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    8
    9                            UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
   10                                 WESTERN DIVISION
   11 ALS SCAN, INC.,                                  Case No. 2:16-cv-05051-GW-AFM
   12            Plaintiff,                            CLOUDFLARE, INC.’S REPLY IN
   13                                                  SUPPORT OF MOTION FOR PARTIAL
             vs.                                       SUMMARY JUDGMENT REGARDING
   14 CLOUDFLARE, INC., et al.,                        EXTRATERRITORIALITY
   15          Defendants.                             Hearing Date:         March 30, 2017
   16                                                  Hearing Time:         8:30 AM
                                                       Place:                Courtroom 9D
   17                                                  Judge:                Hon. George H. Wu
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    1                                          ARGUMENT
    2          This case is ripe for partial summary judgment on extraterritoriality grounds.
    3 Nowhere in ALS’s opposition does it contest that 14 of the 15 websites at issue in its
    4 contributory case against Cloudflare are hosted on foreign servers operated abroad.
    5 Nor does it contest that such extraterritorial direct infringements are not legally
    6 actionable. Instead, ALS shifts gears and suggests that the display of a foreign-
    7 hosted website can be the basis for a territorial claim because the content on that
    8 website may be temporarily cached globally (including within the United States) by
    9 automated transmission networks such as the one Cloudflare operates. ALS is
   10 incorrect. Indeed, its argument “would destroy the concept of territoriality inherent
   11 in the Copyright Act for works on the Internet.” Perfect 10, Inc. v. Yandex N.V.,
   12 962 F. Supp. 2d 1146, 1153 (N.D. Cal. 2013), as amended (Sept. 6, 2013). Because
   13 the U.S. Copyright Act does not reach direct infringements occurring abroad, and
   14 because any domestic caching activity is non-actionable under the volitional conduct
   15 requirement and fair use doctrine, Cloudflare’s motion for partial summary
   16 judgment should be granted.
   17 I.       ALS SCAN’S CLAIM THAT EACH OF THE DIRECT
   18          INFRINGEMENTS IN SUIT DID NOT TAKE PLACE “ENTIRELY
               ABROAD” IS WRONG AND DOES NOT SAVE ALS FROM
   19          SUMMARY JUDGMENT

   20          In hopes of avoiding summary judgment, ALS attempts to muddy the
   21 distinction between (1) foreign-hosted permanent copies of its images and (2)
   22 separate transitory cache copies that may be stored on one or more of Cloudflare’s
   23 102 cache servers (19 of which are located within the U.S, and 83 of which are
   24 located abroad).1 See, e.g., Dkt. 130 (ALS Scan Opp. to Cloudflare Mot. for S.J.)
   25
   26
           1
            ALS’s Opposition urges that Cloudflare’s Domain Name Server (“DNS”)
      services (which, like all DNS services, act essentially as a forwarding service for
   27 internet users looking for a particular website) is somehow relevant to its
   28 contributory infringement claim. But ALS cites no cases in which DNS servers
      (continued)
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    1 (“Opp.”) at 9-10, 13-14. ALS may not conflate the permanent copies of content on
    2 each website’s host servers with the distinct cache copies that, depending on the
    3 frequency and location of user requests, may be served from one or more Cloudflare
    4 caching servers around the world. As ALS’s own brief acknowledges, “[e]ach act
    5 of copying constitutes a complete act” of possible infringement, Opp. at 13, and thus
    6 the Court must separately consider whether each copy independently can survive
    7 Cloudflare’s motion.2 Here, there simply is no meaningful dispute that
    8 extraterritorial host server infringements must be dismissed as nonactionable. And,
    9 ALS’s cache server infringements fare no better for a number of reasons, including
   10 because automated computer caching lacks the required element of volitional
   11 conduct, and also because courts have held the minimal, incidental copying engaged
   12 in by CDNs to be a non-actionable fair use.3
   13
   14
      were found liable for any form of copyright infringement. Nor does ALS reference
   15 any specific Section 106 exclusive right implicated by DNS services. Instead, ALS
   16 vaguely suggests that this aspect of internet architecture “frustrate[s] the rights of
      copyright owners.” Opp. at 8. Because Cloudflare’s DNS servers act solely to tell a
   17 website visitor’s computer what the IP Address is for a given server hosting a
   18 particular website, which has nothing to do with the alleged acts of direct copyright
      infringement at issue, these accusations are irrelevant to the pending motion.
   19     2
            ALS’s citation to Shropshire agrees: there, the Court examined each alleged
   20 infringement separately to determine territoriality, and concluded that the making of
   21 an infringing video in Canada was extraterritorial, whereas the separate act of
      uploading that video to a U.S. YouTube server was territorial. See Shropshire v.
   22 Canning, 809 F. Supp. 2d 1139, 1145-46 (N.D. Cal. 2011).
   23     3
            Though ALS’s complaint generally averred as to ALS’s ownership of a
   24 “substantial library” of adult “images and videos,” SAC ¶ 18, ALS has thus far
      failed to disclose which of its copyrighted works are at issue. See, e.g., Dkt. 51 at
   25 18; Declaration of Rachel Kassabian, Ex. A (ALS’s Interrogatory Responses). In its
   26 Opposition, ALS now has admitted that “[a]ll of the infringements alleged in this
      case involve static ALS files in jpg format.” Opp. at 5. Accordingly, Cloudflare
   27 requests that the court enter partial summary judgment dismissing ALS’s
   28 copyrighted videos from this suit. See, e.g., SAC ¶ 18, Ex. 1 at lines 158-188.

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    1         A.    The alleged host server infringements are entirely extraterritorial
    2         ALS’s opposition papers fail to offer any factual or legal support for its
    3 contributory claims against Cloudflare based on alleged copies of ALS images on
    4 the 14 websites that are hosted on foreign servers.
    5         First, ALS does not dispute that IP Address lookups are a reliable and widely
    6 accepted means of determining the geographic location of host servers for websites.
    7 Indeed, it has not objected to Cloudflare’s IP Address lookup evidence, and also
    8 relies on such lookup tools itself.4 Nor does ALS dispute that the 14 websites at
    9 issue are stored on host servers located abroad. See Dkt. 131 (ALS Statement of
   10 Genuine Dispute of Material Facts) at 4-5;5 see also Dkt. 124-2, Decl. of Trey
   11 Guinn (“Guinn Decl.”) at 5-6 (showing that 14 of the 15 websites at issue are
   12 located abroad, in countries such as France, the Republic of Seychelles, and
   13 Romania).
   14         Second, ALS does not, and cannot, dispute the extraterritoriality doctrine
   15 itself—that copyright protection extends “no farther than the [United States’]
   16 borders” and thus “United States copyright laws do not reach acts of infringement
   17 that take place entirely abroad.” Subafilms, Ltd. v. MGM-Pathe Commc’ns Co., 24
   18 F.3d 1088, 1094, 1098 (9th Cir. 1994) (citations omitted).
   19     4
             See, e.g., Spillane Decl. ¶ 6, Ex. D (Dkt. 133-4) (containing 50 pages of IP
   20 Address lookups); Penn Decl. (Dkt. 134) ¶¶ 5-19; see also Penn Reply Decl., Ex. 3
   21 (Dkt. 45-3) (Domaintools Report). IP Address lookup tools have also been accepted
      as reliable in other cases. See, e.g., Yandex, 962 F. Supp. 2d at 1157-58 (“Using the
   22 same geo-location tools used by Perfect 10, Yandex demonstrates that the third-
   23 parties hosting the 50,000 full-sized images are extraterritorial[.]”); Pac. Century
      Int’l, Ltd. v. Does 1-37, 282 F.R.D. 189, 196 (N.D. Ill. 2012) (“As the parties both
   24 indicate, it is possible to uncover the location of any IP Address through the use of
   25 free online tools.”).
   26
          5
             Though ALS purports to “dispute” those facts, it offers no supporting
      evidence, instead making the unrelated statement that Cloudflare’s customer records
   27 are held by Cloudflare, which has no bearing on the accuracy of IP Address lookups
   28 or the records themselves.

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    1         As ALS implicitly acknowledges in switching its attention to alleged caching
    2 server copies (see below), the foreign-hosted permanent copies are not actionable
    3 direct infringements and cannot give rise to a contributory claim against Cloudflare.
    4 These acts took place “entirely” abroad: the upload of content by users of the 14
    5 domains would be a “reproduction” occurring entirely in the foreign country, where
    6 the copy was also saved onto a server; the creation of derivative works on the
    7 foreign servers would be entirely foreign; the display of those copies would take
    8 place at the location of the foreign server (Perfect 10, Inc. v. Amazon.com, Inc., 508
    9 F.3d 1146, 1159 (9th Cir. 2007)); and even the distribution or “export” of those
   10 copies would take place at the foreign site where they were distributed from, not the
   11 location of any receiving computer. Yandex, 962 F. Supp. 2d at 1153; see also
   12 Geophysical Serv., Inc. v. TGS-NOPEC Geophysical Co., --- F.3d ---, 2017 WL
   13 955259, at *10 (5th Cir. Mar. 10, 2017) (“That the United States was the destination
   14 [of exportation] does not convert [a Canadian third party’s] conduct into domestic
   15 conduct for the purpose of the Copyright Act.”). Indeed, there could be no other
   16 reasonable conclusion; otherwise, any foreign company offering a globally-
   17 accessible website hosted abroad would be swept up within the ambit of U.S.
   18 copyright law, which would “destroy the concept of territoriality inherent in the
   19 Copyright Act for works on the internet.” Yandex, 962 F. Supp. 2d at 1153.
   20         Given the Ninth Circuit’s server test in Amazon, and the Yandex decision that
   21 is squarely on point, these alleged host server infringements are indisputably
   22 extraterritorial, and Cloudflare is entitled to partial summary judgment on ALS’s
   23 contributory claims arising from them. See Amazon, 508 F.3d at 1159-62; Yandex,
   24 962 F.Supp.2d at 1154, 1157.6
   25
   26
          6
             ALS cites Amazon and suggests that Cloudflare, like Google, has “domestic
      servers” that “cause user’s computer screens to fill with copyrighted images,” Opp.
   27 at 12, which constitutes direct infringement. Not only was this exact theory of direct
   28 liability rejected on fair use grounds later in that same decision, but ALS also has
      (continued)
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    1           B.    The alleged caching server infringements are not actionable and
                      also fail for lack of proof
    2
    3           In hopes of saving its case on summary judgment, ALS shifts focus and urges
    4 that it is not the foreign host server copies, but rather the alleged transitory copies
    5 stored on Cloudflare’s cache servers, that provide a territorial anchor for its claims.
    6 Nowhere in any of its three complaints has ALS articulated such a theory — that
    7 temporary cache copies are the purportedly actionable direct infringements
    8 underlying its case. This unpleaded claim should fail for that reason alone. See,
    9 e.g., Wady v. Provident Life & Accident Ins. Co. of Am., 216 F. Supp. 2d 1060,
   10 1066-67 (C.D. Cal. 2002) (citing Johnson v. Methodist Med. Center of Ill., 10 F.3d
   11 1300, 1304-05 (7th Cir. 1993)) (plaintiff precluded from arguing an unpleaded alter
   12 ego theory to avoid summary judgment). But even considering it, and evaluating
   13 these alleged copies independently,7 the temporary cache copies are not actionable
   14 either.
   15           As a preliminary matter, ALS takes issue with Cloudflare’s use of the word
   16 “cache,” and in hopes of distinguishing Cloudflare’s favorable caching cases,
   17 accuses that Cloudflare might not be using the term “accurately.” Opp. at 10 n.2.8
   18 But ALS cannot conjure up a dispute just by saying so—it must proffer evidence
   19 that Cloudflare’s caching functionality is legally and materially distinguishable from
   20 other caching functionalities found to be non-actionable fair uses under Ninth
   21
   22 never asserted any direct infringement claims against Cloudflare, SAC ¶¶ 61-63,
      presumably because such claims would be futile. See Mot. at 8.
   23    7
            See Opp. at 13 (citing Los Angeles News Servs. v. Reuters Television Int’l Ltd.,
   24 149 F.3d 987 (9th Cir. 1998)).
   25    8
            ALS itself has used the same “caching” term to describe Cloudflare’s services,
   26 and did not seem confused by it then. See, e.g., SAC ¶ 5 (“Pirate websites or their
      hosts engage the services of content delivery networks, who cache a copy of a
   27 website”); Dkt. 51 (ALS Opp. to Mot. to Dismiss) at 4 (“Cloud[f]lare caches your
   28 content across our global network”).

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     1 Circuit law. ALS has failed to do so. Cloudflare, on the other hand, has provided
     2 undisputed evidence that its cache servers are “computer memory with very short
     3 access time used for storage of frequently or recently used instructions or data.” See
     4 Guinn Decl. ¶ 9 (cache copies are stored for a “short period of time, typically a few
     5 hours” and stating that only files that are “frequently requested” are cached); see
     6 also Spillane Decl., Ex. A (Dkt. 133-1) (stating that cached files “are never more
     7 than a few hours old”). Cache files stored on Cloudflare’s cache servers are just
     8 that—cache files—and ALS’s halfhearted attempt to split technological hairs is
     9 unavailing. ALS’s references to browser caching versus Cloudflare’s caching is a
    10 distinction without a difference—both types of caching are passive, automated
    11 computer functions which reduce latency, minimize bandwidth usage, and improve
    12 the functioning of the internet for all of its users. See Guinn Decl. ¶ 6 (caching is
    13 “part of the infrastructure or backbone of the internet” and helps deliver data
    14 “quickly and efficiently”); see also Spillane Decl., Ex. F (Dkt. 133-6) (“Content
    15 delivery networks have been around for the last 15 years. Nearly every large
    16 website on the Internet uses a CDN.”)
    17         ALS’s caching server theory of liability fails for at least three reasons, as set
    18 forth below.
    19                1.     Computer caching is an automated process lacking the
    20                       required element of volitional conduct

    21         The reason ALS avoided focusing its complaint on temporary caching as a
    22 direct infringement by the website operator is because such a claim would inevitably
    23 fail. It is well-settled that computer caching is an automated, non-volitional process.
    24 Just two months ago, the Ninth Circuit decisively confirmed that volitional conduct
    25 is a required element of a claim for direct copyright infringement, and the automatic
    26 distribution of internet content does not satisfy this element. See Perfect 10, Inc. v.
    27 Giganews, Inc., 847 F.3d 657, 666-68 (9th Cir. 2017). ALS does not even mention
    28 Giganews in its Opposition, despite the fact that it is recent, controlling Ninth

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     1 Circuit precedent involving a case originating from the Central District of
     2 California.
     3          There is no human act involved in a computer system’s automated and
     4 temporary caching (and purging) of user-requested content on caching servers.
     5 Guinn Decl., ¶ 8. ALS does not rebut Cloudflare’s sworn declaration that caching
     6 only occurs for “frequently requested files” (Guinn Decl. ¶ 9); instead ALS attaches
     7 documents that similarly state caching depends on “(a) where most of [a website’s]
     8 visitors are coming from and which Cloud[f]lare datacenter they are hitting, and (b)
     9 how may times those resources are requested at the specific datacenter.” Spillane
    10 Decl., Ex. J (Dkt. 133-10). Because the actual caching of a particular piece of
    11 content is automated and highly variable, “Cloud[f]lare does not cache the same
    12 resources for [a] site globally at every datacenter location.” Id. ALS is wrong to
    13 claim that website owners “undertook actions – volitional conduct – resulting in”
    14 copyright infringement (Opp. at 9); it is the visitor requests of a website that
    15 determine whether a particular piece of content will actually be cached, and where –
    16 not the website operator. Cloudflare, as an infrastructure provider, is yet another
    17 link in the chain removed from ALS’s complained-of conduct.9 Spillane Decl., Ex.
    18 F (Dkt. 133-6).
    19          As for ALS’s suggestion that the website operator’s act of signing up for
    20 Cloudflare’s web optimization and security services somehow provides the required
    21
            9
    22         ALS wrongly attempts to merge the analysis for direct and secondary
         infringement by using the same act—creating cache copies—as a basis for both its
    23   direct and contributory claims. Courts routinely reject efforts by plaintiffs to merge
    24   the analyses. See, e.g., Robert Kubicek Architects & Assocs., Inc. v. Bosley, No. 11-
         CV-02112, 2012 WL 6554396, at *7 (D. Ariz. Dec. 14, 2012) (contributory claim
    25   based on direct infringers’ conduct was “subsumed in the direct infringement
    26   claim”); Matthew Bender & Co. v. W. Pub. Co., 158 F.3d 693, 707 (2d Cir. 1998)
         (contributory claim against distributor of allegedly infringing CD-ROMs “bespeaks
    27   direct infringement (a claim we have already rejected for other reasons) rather than
    28   contributory infringement”).

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     1 volitional element, that too fails because signing up for a service (1) plainly is not an
     2 act of infringement, and (2) does not lead to the caching of any particular piece of
     3 content – only visitor requests for content do that. Further, it is the content
     4 uploader, not the website operator, who is the volitional actor and thus the direct
     5 infringer in ALS’s scenario — and the uploader is not the Cloudflare customer.10
     6 ALS must show sufficient volitional conduct regarding acts of alleged infringement
     7 so as to satisfy the “unremarkable proposition that proximate causation historically
     8 underlines copyright infringement liability no less than other torts.” Giganews, 847
     9 F.3d at 666.11 It cannot do so with respect to cache copies on Cloudflare servers.
    10
    11
    12
            10
    13          ALS attempts to concoct volitional conduct using inadmissible settlement
         communications with no bearing on the specific allegedly infringing acts at issue
    14   here. ALS has repeatedly accused Cloudflare of refusing to reveal the identities of
    15   “primary hosts” of allegedly infringing content, referencing settlement discussions
         protected under Federal Rule of Evidence 408. See SAC ¶ 38; Dkt. 51 (ALS Opp.
    16   to Cloudflare Mot. to Dismiss) at 6-7, 12; Opp. at 1, 4, 8-9; Spillane Decl. ¶ 15. The
    17   very context of these references make clear that ALS is improperly attempting to
         use these settlement discussions to bolster the merits of its case, which Rule 408
    18   forbids. Fed. R. Evid. 408. In any event, ALS’s settlement conversation with
    19   Cloudflare does nothing to bolster its opposition. Even accepting this statement as
         true (which it is not) and considering it on the merits, it does not prove territoriality
    20   of the foreign infringements at issue here, nor that any domestic cache copies are
    21   somehow actionable as a volitional act. Spillane Decl., Ex. G (Dkt. 133-7) § 11.
         Because this alleged statement has no bearing on the location or nature of the
    22   alleged acts of infringement, it is immaterial on this motion.
    23      11
               The Ninth Circuit’s Giganews decision, discussing the proper interpretation
    24   of Netcom in 2017, is far more illuminating more than ALS’s characterizations of
         Netcom as permitting any liability where a defendant “takes actions” resulting in
    25   copies appearing on servers. Other appellate courts interpreting Netcom require
    26   meaningful acts to sustain liability for operation of servers, acts which ALS has not
         provided evidence of here. See CoStar Grp., Inc. v. LoopNet, Inc., 373 F.3d 544,
    27   549 (4th Cir. 2004) (Copyright Act “requires conduct by a person who causes in
    28   some meaningful way an infringement”) (emphasis in original).

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     1           Because caching is an automated, non-volitional computer process, cache
     2 copies do not provide an actionable basis for ALS’s contributory claims against
     3 Cloudflare. Giganews, 847 F.3d at 669-670.
     4                 2.      Infrastructure-level caching is a fair use
     5           ALS’s claim for liability over cache copies fails for the additional reason that
     6 automated caching is a fair use. ALS’s opposition does not address (let alone
     7 dispute) this issue and thereby concedes it. Compare Mot. at 8 (citing authority that
     8 CDN cache copies are protected under the doctrine of fair use) with Opp. at 1-14
     9 (making no mention of fair use). This issue may be properly considered on
    10 summary judgment because there are “no material, historical facts” at issue
    11 regarding the functioning of Cloudflare’s caching services. Seltzer v. Green Day,
    12 Inc., 725 F.3d 1170, 1175 (9th Cir. 2013).
    13           As Cloudflare explained in its moving papers,12 the courts that have
    14 considered copyright liability for computer caching have held it to be a fair use. See
    15 Amazon.com, 508 F.3d at 1169–70; Rosen v. eBay, Inc., No. 13-CV-6801, 2015 WL
    16 1600081, at *20-*21 (C.D. Cal. Jan. 16, 2015); Field v. Google Inc., 412 F. Supp.
    17 2d 1106, 1118 (D. Nev. 2006). ALS omits any discussion of the fair use holding in
    18 Perfect 10 v. Amazon, but there the Ninth Circuit held in clear terms that “cache
    19 copying constitutes a fair use.” 508 F.3d at 1170. In conducting the analysis, the
    20 court noted that making cache copies to “assist in accessing the Internet” was a
    21 transformative use weighing in favor of fair use, that cache servers cache “no more
    22
    23      12
                 Though ALS has raised the issue of liability predicated on cache copies for
    24   the first time in this case in its Opposition, the Court may properly consider and
         reject it on summary judgment. See Fed. R. Civ. P. 56(f)(2) (describing issue
    25   “independent” of motion as one based on a ground “not raised by a party”); see also
    26   Desales v. Woo, 860 F. Supp. 1436, 1446 n.8 (N.D. Cal. 1994) (“Although
         defendants raised the qualified immunity issue in their opposition papers and not on
    27   their own motion for summary judgment, it is appropriate to rule on the issue at this
    28   point.”).

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     1 than is necessary,” to assist in internet access, that cache copies “enhance an
     2 individual’s computer use” and do not supersede the rights of copyright owners, and
     3 that “automatic background copying has no more than a minimal effect on [a
     4 copyright owner’s] rights, but a considerable public benefit.” Id. at 1169.
     5         The record evidence shows that the same facts in Amazon are true for
     6 Cloudflare’s caching functionality: the copies are transformative, i.e. they are used
     7 for the purpose of facilitating internet access by making websites faster and more
     8 secure. See Spillane Decl., Ex. A (Dkt. 133-1), Guinn Decl. ¶ 3. Only “frequently
     9 requested files,” of “specific types” are cached, and Cloudflare’s system “does not
    10 store the permanent copies” but instead forbids users from using Cloudflare for
    11 storage via its Terms of Service. Guinn Decl. ¶¶ 5, 9, Ex. A § 10; Spillane Decl.,
    12 Ex. J (Dkt. 133-10) (Cloudflare “does not cache the same resources for [a] site
    13 globally” because it only caches material when necessary). Cloudflare’s security
    14 and optimization enhance an individual user’s use by making the websites they visit
    15 less vulnerable to malicious actors and delivering requested content over a shorter
    16 distance. Further, and most critically, cache copies do not supersede ALS’s
    17 exploitation of its works in any way. Cache copies are simply mirror copies
    18 reflecting the contents of other websites; they are not separately viewable, usable or
    19 marketable. See Guinn Decl. ¶ 6. If Cloudflare’s service did not exist, visitors to
    20 the websites at issue would still type the same website URL into their browser, the
    21 URL would be resolved to the host server IP address by a nameserver, and the
    22 content of a particular webpage, including images, would still load on the user’s
    23 screen. Stated another way, no internet user who would not otherwise view the
    24 images at issue straight from the host server would view the temporarily cached
    25 copies either. From all perspectives, cache copies are indistinguishable and
    26 imperceptible to users. The fact that internet infrastructure services like Content
    27 Delivery Networks exist and engage in automatic temporary copying “has no more
    28

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     1 than a minimal effect on [ALS Scan’s] rights, but a considerable public benefit.”
     2 Amazon, 508 F.3d at 1169.
     3         As Judge Fitzgerald held in Rosen v. eBay—another case ALS ignores in its
     4 Opposition, despite the fact that it is from this judicial district and is directly on
     5 point—the “widespread use of CDNs” like Cloudflare “is a crucial part of
     6 maintaining not only internet commerce, but the efficient operation of the internet
     7 generally.” 2015 WL 1600081, at *21. CDNs cause “only minor and wholly
     8 incidental copying” and are part of the “basic internet architecture” that have “trivial
     9 copyright-related effects” and thus, “fall[] within the protections of the fair use
    10 doctrine.” Id. at *20; see also Spillane Decl. Ex. F (“Content delivery networks
    11 have been around for the last 15 years. Nearly every large website on the Internet
    12 uses a CDN.”).
    13
                      3.     ALS’s caching server infringement theory fails for lack of
    14                       proof
    15         ALS’s caching server theory fails for a third reason—lack of proof. In
    16 opposition, ALS offers the Penn declaration as its only evidence that any specific
    17 ALS images actually are cached (somewhere) on Cloudflare servers. But Penn’s
    18 declaration shows only, at best, the caching of just seven images—one image on
    19 each of seven of the fourteen websites at issue in Cloudflare’s motion:
    20
          WEBSITE                   ALS EVIDENCE OF CLOUDFLARE CACHING?
    21
    22    Bestofsexpics.com         One cached image (Penn Decl. Ex. 1)
    23
          Greenpiccs.com            One cached image (Penn Decl. Ex. 4)
    24
    25    Img.yt                    One cached image (Penn Decl. Ex. 5)
    26
    27    Imgchili.net              One cached image (Penn Decl. Ex. 6)

    28

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     1
           WEBSITE                    ALS EVIDENCE OF CLOUDFLARE CACHING?
     2
     3     Imgsen.se                  One cached image (Penn Decl. Ex. 8)
     4
           Slimpics.com               One cached image (Penn Decl. Ex. 13)
     5
     6     Stooorage.com              One cached image (Penn Decl. Ex. 14)13
     7
     8     fboom.me                   NO EVIDENCE of any Cloudflare caching filed by ALS

     9
           imgflash.net               NO EVIDENCE of any Cloudflare caching filed by ALS
    10
    11     imgspice.com               NO EVIDENCE of any Cloudflare caching filed by ALS
    12
           imgspot.org                NO EVIDENCE of any Cloudflare caching filed by ALS
    13
    14     imgtrex.com                NO EVIDENCE of any Cloudflare caching filed by ALS
    15
    16     pornwire.net               NO EVIDENCE of any Cloudflare caching filed by ALS
    17
           vipergirls.to              NO EVIDENCE of any Cloudflare caching filed by ALS
    18
    19
                 Moreover, this evidence does not help ALS Scan demonstrate a territorial
    20
         alleged infringement, because none of these seven images is cached within the
    21
         United States. Specifically, the Redbot reports proffered by ALS Scan reflect that
    22
         these seven images were cached on Cloudflare data center servers in Sydney,
    23
         Australia. See Penn Decl. ¶¶ 5, 6, 8, 9, 10, 12, 17, and Exs. 1, 2, 4, 5, 6, 8, 13;
    24
         Declaration of Kenneth Carter ¶ 7. Thus, even assuming the legal viability of
    25
         ALS’s domestic caching server theory (for which it fails to cite even a single
    26
    27       Of all of ALS Scan’s evidence in the above chart, only one exhibit – Exhibit
            13

    28 14 – was produced to Cloudflare in discovery in this action. Kassabian Decl. ¶ 2.

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     1 supporting case), it fails for lack of proof. Cloudflare’s motion for partial summary
     2 judgment as to the 14 websites should be granted for this additional reason.14
     3 II.        ALS’S “DOMESTIC IMPACT” THEORY OF TERRITORIALITY
     4            FAILS AS A MATTER OF LAW

     5            ALS repeatedly contends, without legal citation, that its contributory claims
     6 should survive this motion because the underlying direct infringements, even if
     7 extraterritorial, have domestic “infringing consequences” or “impact.” See Opp. at
     8 1, 7, 8, 9. But in Subafilms, the Ninth Circuit squarely rejected this precise
     9 argument: holding that United States copyright laws do not extend to
    10 “extraterritorial acts of infringement [even] when such acts result in adverse effects
    11 within the United States.” 24 F.3d at 1095. Despite the copyright owner’s
    12 “contention that failure to apply the copyright laws extraterritorially in this case will
    13 have a disastrous effect on the American film industry, and that other remedies, such
    14 as suits in foreign jurisdictions or the application of foreign copyright laws by
    15 American courts, are not realistic alternatives,” the Ninth Circuit was “not
    16 persuaded by Appellees’ parade of horribles.” Id. ALS’s identical argument here is
    17 likewise foreclosed.15
    18
             14
    19          Nor does ALS need any opportunity to try to round up more evidence before
         dismissal is appropriate — just four days ago ALS’s counsel confirmed to
    20   Defendants and represented to this Court that “We have produced everything we
    21   intend to rely on” in this case. See Kassabian Decl. Ex. B (3/13/17 Hearing Tran., at
         5:17-18); see also Dkt. 136 (Plaintiff’s 3/10/17 Statement Re Scheduling
    22   Conference) at 1 (“ALS has produced all existing page captures showing infringing
    23   ALS images on the sites in question.”).

    24
             15
               ALS asked the Court to delay its ruling on Cloudflare’s motion pursuant to
         Rule 56(d), to give ALS the opportunity to “review Cloudflare’s entire document
    25   production and complete the Cloudflare deposition” because, per ALS’s counsel,
    26   “[m]y hope is that … between those [unspecified] documents and the admissions in
         Cloudflare’s [deposition] testimony, there is enough to identify triable issues of
    27   material fact.” Spillane Decl., ¶ 16. While this is a textbook example of what a
    28   Rule 56(d) request should not look like, Cloudflare will not address the substance of
         (continued)
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     1                                       CONCLUSION
     2        For the foregoing reasons, Cloudflare respectfully requests that the Court
     3 grant its Motion for Partial Summary Judgment Regarding Extraterritoriality.
     4
     5 Dated: March 16, 2017                        Respectfully submitted,
     6                                              QUINN EMANUEL URQUHART &
     7                                              SULLIVAN LLP

     8
     9                                           By
    10                                             Rachel Kassabian
                                                   Attorney for Defendant Cloudflare, Inc.
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    27 ALS’s Request on reply, because on March 15, 2017, the Court issued a text-only
    28 minute order denying ALS’s request. See Dkt. 142.

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